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                                                                            ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                DOC #:
SOUTHERN DISTRICT OF NEW YORK                                               DATE FILED: 11/12/2021
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 MARILYN MATUS and SHELDON MATUS,                               :
                                                                :
                                              Plaintiffs,       :          21-CV-8717 (VEC)
                            -against-                           :
                                                                :                ORDER
                                                                :
 TARGET CORPORATION,                                            :
                                                                :
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS on October 25, 2021, this case was removed from the Supreme Court of the

County of New York to the Southern District of New York, Dkt. 1;

        WHEREAS on October 27, 2021 the Court ordered the parties to show cause in writing

by November 9, 2021 why this case should not be transferred to the Eastern District of New

York, Dkt. 6; and

        WHEREAS to date neither party has responded to the Court’s October 27, 2021 order;

        IT IS HEREBY ORDERED that this case is transferred to the Eastern District of New

York in the interest of justice, inasmuch as the accident occurred in the Eastern District of New

York and the Plaintiffs reside there. See 28 U.S.C. § 1404(a).



SO ORDERED.
                                                                    ________________________
                                                                    _____________________ _______
Date: November 12, 2021                                                VALERIE CAPRONI
                                                                                  CAPRON ON NI
      New York, New York                                             United States District Judge
